                           CONFIDENTIAL MEDIATION CONTACT INFORMATION
     Appellate Case: 22-1094                   Document: 010110673380                    Date Filed: 04/20/2022               Page: 1
                                             FOR MEDIATION OFFICE REVIEW ONLY

                                              Submit this form directly to the Mediation Office.
                                  Return by e-mail to CA10_CMO@ca10.uscourts.gov or fax (303-844-6437)
                                       to the attention of Denise McClure, Conference Administrator.

                           Conference Date:

Case No(s).:                                 Case Name:

1. Please identify your client(s) and provide contact information for each attorney who will participate in
the mediation conference. If more than one attorney is involved, the attorney with the most direct
relationship with the client is required to participate in the conference and should be listed as Lead
Mediation Counsel below.
Client Name(s):
      Appellant

      Appellee

          Other        Details:
                                           *The mediator will call all mediation participants. Please provide the best direct number
   Lead Mediation Counsel:                 (identify the direct number as office, cell or other) at which each participant can be reached.
            Name:
      Firm Name:
          Address:
    City/State/Zip:
  Direct Number*: Office:                                      Cell:                                 Other:
           E-mail:


  Other counsel who will participate on behalf of your client:
            Name:
      Firm Name:
          Address:
   City/State/Zip:
  Direct Number*: Office:                                    Cell:                                   Other:

           E-mail:


  Other counsel who will participate on behalf of your client:
            Name:
      Firm Name:
          Address:
   City/State/Zip:
  Direct Number*: Office:                                     Cell:                                  Other:

           E-mail:

2. Please complete the below information only if your client or client representative (identify
title) will participate in the mediation conference. If your client or client representative is participating
from a different telephone number than lead counsel, please list the telephone number.
          Name:
 Direct Number*: Office:                                    Cell:                                 Other:



         *The mediator will call all mediation participants. Please provide the best direct number (identify the
         direct number as office, cell or other) at which each participant can be reached.
